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Mandatory Requirements: Provide a list of all cases filed in this Court in which applicant
has appeared as counsel.

Applicant Megan Hinkle Huynh has appeared as counsel in the following cases in the US
District Court for the Southern District of Georgia:

1. Altamaha Riverkeeper and One Hundred Miles v. The United States Army Corps of Engineers
et al., Civil Action No.: 4:18-cv-00251-JRH-JEG, Savannah Division; and

2. State of Georgia et al. v. Andrew Wheeler et al., Civil Action No.: 2:15-cv-00079-LGW-
BWC, Brunswick Division.
